 

 

COMPLAINT

UNITED STATES DISTRICT COURT gu w _q A n 12

EA_sTERN DISTRICT 01= wlscoNsI
- sTEPHEu c. ames

iv L»LI\

 

(Full name of plaintiff(s))

'\Q.L. 3a W\\/\l¢\\€](

 

 

V. . Case Number:

(Fuu name of defendant(s)) 1 8 c f 5 7 !»

. ` (to be supplied by Clerk of Courtj_
5+§'3;\-£ Q§< l/\) l§Co|/\§\V\

 

 

 

 

 

 

 

A. PARTIES `
1. Plaintiff is a citizen of w \S (`/\>Y\,Si n and resides at
(state) '
(Address)

(If more than one plaintiff is filing, use another piece of paper.)
2. Defendant 6'[*0+`€ OSC L/J\§ CO'/\ .S i' V\
(Name) `

is (if a person or private corporation) a citizen of ULH‘G\\ S+\r|~€~$ OL AW)€/“l C¢Q

Complaint-l
Case 2:18-CV-01574-DE.] Filed 10/09/18 Page 1 of 18 Document 1

 

 

. » (State, if known)
and (if a person) resides at lm/ {‘\

l (Address, if known)
and (if the defendant harmed you while doing the defendant' s job)

workedfor S‘l'tlrw 051 l/\\§<F/GY\§ln

(Employer’s name and address, if known)
(If you need to list more defendants, use another piece of paper.)
B. STATEMENT OF CLAIM
On the space provided on the following pages, tell:
Who violated your rights;
What each defendant did;
When they did it;

Where it happened; and
Why they did it, if you know.

lel‘€€\ 311/1613 om$~e(l /('or l:>wfc.lovL/./\!€l!/c/€
~i;l_ne%+ 1 load 61 +\1’161l <whld@ NGS Wll\&+mcl\‘ZD CmO
1 Q_:\mul Whev\€/ l was /lmw\cl C.141l1l1,1 Qu§£.¢
W\M 11 11 1057 /
lO\C\l ’T_ 1,1615 Sen+€nced A~s{mssn /Qw 277€1;1@
_Lx/Q~l»&f` .OM\@$€\/H-\no. 0 mr\v\/\\V\nl_ %Wlu\/l‘r‘l‘
Clll~`eovh/. ~P &SC€J~l'lCtmll/\/ "ll/\rrf“ V\lo,wk&§l’\&
' 913 slAg;€, l initial §glsc/ uslw/c Mov+§ §§/§Ql&é
5€7\!\1\?//\€¢6"” WMlO-E~l/\Cyl' Avl~lx>v\l/l\ lQoSw/-`l1\(_p145l(,
Q .

en cior.!ol 111/\ " v1/115 col/wl

9111>.¢»!~>:-‘

 

 

 
 
 
 

  
   

Miz¢mew\\ 5 61¢ 11’\ l<vwwwaj

Complaint-2
Case 2:18-cV-01574-DE.] Filed 10/09/18 Page 2 of 18 Document 1

 

 

'l'l\\€, lar r‘©r. -
llJr 1111 111/1113 pgllcrc klm gllwe<l 1b dale

 

 

 

 

 

 

 

 

;P les+\l@ 61 Ww;lo&/~ cl -11111/\@$/,. ll\o+ ~l~l\

  
 
  

 

 

hal +1 ask 6\)1'1’ll: TM»£?;

‘ al lngl nl_>s@\/\ml ll\l<{. pwml$ 111 SWML
` oKm/\r 611-lL /l,l)®l~l@¥ln”£`~$ 91}1»1¢)
' 111513 1111/a 116/1a m 1
l al ll1l<€. 501>\>19~01‘1 1115 11/\ snow l;vwll\a/'

w\/\>l~€ lwll\la weath mow wlml\ &9€1+65
-1§l/\1,-9 619th o/l>ll/l@ l>n/v.lcmi 99

WAEL_W_Q,;_Q,(, 111@ lslle/Jl> l¢u»%al pulled

C\u\l~€, ~'ll‘l/¥C /;1»1l§»€, 1/11/\10\‘{12$$1\>1/\ OV\ ~l'l’\€ wl-l-Vl~€$$

%l» 0 lltqd' ~l“\m ‘

M\rw\l§ low vv\\l~@$\ lmr\» as 117 ~l"l\ela lw/(l
§ /l?ll>m OVl'C QJl/` ~

 

 

   

 

 

 

 

   

~5,1> 0111»0'151\9$.
Complaint - 3

Case 2:18-cV-01574-DE.] Filed 10/09/18 `Page 3 of 18 Document 1

 

  
   

1 .................... . 1 111 66 . slile ........ .......................... ................................
. _________________ gel-we<::\\<€cl“l°él)£)¢rl` ....... l/§ ............ n Co\fm¢-liovl£~l)lw€¢$ ................
\. ............................. 1111 ....... 15 ...... z _________ 1112 ..... 1 ......... 1 low ______________________ f 111 .......... _ ..........................

............................................................................................

        

   

............................

" . ....... +lm ............... wQ$ ........ ou:(-. _____ on ..........

' ,1¢€1~~1; ......... 11@;111 .............. 1111 __ ___________________________ J.  z__;iiji;jjiiji;j;;ii

Wfr[)' ' '§File'"10'/‘09'/18""‘?£§1*§;4
SFlo€ Y‘m+ 114 5

..............................................................................................................................................................................................................................

 

 

 

 

 

 

C.»v\r(\§¥\%€%wl:@; kc\¢(b\\q .. .. _. ._
:,_:. """ _":.: """"" n """"""""""""" W~Lv§ """"""""""" ::'...:Tk.. _. _

l

 

 

 

‘ y ` m ..... ’ .................. 1 ............... _ M § .........................
.I """ L’:::d)+b§gc' """ CQ W`lQb\auS 356 ..... _ .........................

 

 

........................... -fw\@`$l{\£ ougeowm%"l __ l/\a,

_ . _V`Km___ _ __ lubé;t_\()mh-§-€ Ou~€'

 

_. c ..... , ....................... ‘. ..... h Cole(.) ............................................................
I§<W_"_ ___f aba:é+¥+\:$l-W __j _+s€
3 .. w \ il

€m§ ___u ____

 

 

_______ OL/` __

__________%____________ ___`_"_‘_ _________'___'__"___/_ ____________ ____ ___________________________

§.We _____ ‘Z>___

 

 

\f`€q.l _

 

 

' ' _`_¢»/F$\+¢@§me¢…m/§¢f k "
1 / ' mbm L€$\-'¢\XW¢ . f

\‘5“"`»§?§6@

'¢'F

........ ' _,L.é"'.w ‘G.Q\}\®`\é m(_...... .. m\cl»` l ‘.J}'Q¢ " ` `,M '

w ._~

 

 

 

 

  
     

b\l<<Q\GMSM~Pl/Jlsca/N/‘
._r ` . +um+l/zw ______________________________
f ,.......,.....`?;¢ ~§L%M[C(IA‘(J ..................

  

 

 

'e

  
  
 
   
 
 

 

l ........ . ________ M\dn ________ wm T’pk+»`@w¢lqwm

cl 1 asamn€ _______ Wc.§. _______________________________

  
   

 
   
    
    
   
   

 

M°J§<o\\eb+>€i: ` 4
__________________________________________ __ eden _
____________________________ 1 \ '

‘ .. `....... 4. .. ‘.,._ ......., ...........\.....;., .........

___________________________ ,L(\/\\‘z\(\*('-{-C 4 __ . ____________

______________________________ ‘\QM€$”COWN . ~ ` ' *

    

   
   
  

   
   
 

 
  

 
 

............................ b M.¢.W.+Q L] iowa

. ......................... K_NO§W§§MM{$ WMS""“°_“\`TH ' "I°" ' rdTjjjjjjjjjjjjjjj

............................

............

.:.;....., .......... , .............. » ..... " ..... v .._,:.. `.'.' .....
" ' "" . ' _ ’> /
_. . .. . ___ . . .. . ~' ‘ . .......................
.= §
», ' ll , ` : ,

..........................

    
 

 
 

   

   
  
 
   

 
  

 
  

 
 

 

 

 

 

 

 

 

. _ _ , ,.,_§ ~. __M,
, _ _ » ` \, _!_ W.
. .,. ...... - .
z ` __ `. ~ l :,_ q z ,,' _€ l k
§ .;.` .. . s cli~

 

` .(>._`f_ ....... mm` '. `Q“ ..... q&M`-`.*:) f.... .............................
Te%'~lO/O

......................................................................................................... x.‘+.

   

 

9/18Pagel40f18DOCGmentl ............. ...................................

 

 

 

__________ g q£@_\[(_‘,{_(,_

 

 

 

 

C. ]URISDIC'HON
I am suing for a violation of federal law under 28 U.S.C. § 1331.
OR
i:i I am suing under state law. The state citizenship of the plaintiff(s) is (are)
different from the state citizenship of every defendant, and the amount of
money at stake in this case (not counting interest and costs) is
$
D. RELIEF WAN'I'ED
Describe what you want the Court to do if you winyour lawsuit. Examples may

' include an award of money or an order telling defendants to do something or to
stop doing something.

l iapr ii\€ oporvi i\o§ +i\¢ 10st

vice vieov~ti€r cigi;s>n,ic;vnd~< ~i~<>=> Si-o§D

o ssmra m\e, ‘Ai/\€irin:\r H-S wm ii'inz

i\ ida @v~i mowi\a ”he gus-fcc O%@_L£_ 15

vv%»»d+a‘©c wm aaa wah/vii

iiva fhsw+i»§osv:+§ee§ iimvil
§\f\c\/\iii io€ vei€€:§€(i /iVD¢/V) Oo/foi/€

wv\vv\eti\‘ai€i<a@:i: also i'v>\oe ‘i~iw O;in

iJCi|@U€S l i<gi\guii isle G\A)c.\/vi»&i

miiito/\i rio oiiOv\f§j la)irii/\ :_Li/ia 038.51/0§(:

 

 

 

 

 

 

 

 

 

 

 

 

cbi Yt<;CI,O` D'_i”/OV) ibm on `“

Case 2:18-CV-01574-DE.] Filed 10/09/18 Page 17 of 18 Document 1

 

E. IURY DEMAND
I want a jury to hear my case.
[j_ YEs [| _No
I declare under penalty of perjury that the foregoing is true and correct.
Complaint signed this % day of 0(‘ “i"Di/)`<f 20 li.

Respectfully Submitt

viii

Signature of Plaintiff

c//_im’)'\,€

Plaintiff’ s Telephone Number

wind

Plaintiff’s Email Address

 
 
 

d

[|

 

REQUEST To PRocEED IN DISTRICT coURT wrrHouT PREPAYING \;:°'C)C'
FILING FEE @ ng C>r\ J%“i"€

1515 v\. iii sir/ims iiivw'$%ii""“
V\/\iiwwai<¢€z. W; 552 55 livian d

 

(Mailing Address of Pléinti{f) T`|\¢€>
(If more than one plaintiff, use another piece of paper.) :[' wiWiL/\ CK
C>JW\€

>L

I DO request that I be allowed to file this complaint without paying the filing fee.
I have completed a Request to Proceed' in District Court without Prepaying the Q vi ;
Filing Fee form and have attached it to the complaint b

I DO NOT request that I be allowed to file this complaint without prepaying the
filing fee under 28 U S. C. § 1915, and I have included the full filing fee with this

complaint.

Complaint - 5

Case 2:18-CV-01574-DE.] Filed 10/09/18 Page 18 of 18 Document 1

